            Case 5:18-cv-00363-M Document 1 Filed 04/18/18 Page 1 of 8



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

1. TEONA MYERS,                           )
                                          )
              Plaintiff,                  )
                                          )
v.                                        )      No. CIV-18-363-M
                                          )
1. STATE FARM MUTUAL                      )       Honorable
AUTOMOBILE INSURANCE                      )
COMPANY,                                  )      __________________
                                          )
              Defendant.                  )

                               NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant, State Farm Mutual Automobile

Insurance Company (“State Farm”), pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Rule

38(b) of the Federal Rules of Civil Procedure and Local Civil Court Rule 81.1 of the United

States District Court for the Western District of Oklahoma, hereby files this Notice of

Removal of this case from the District Court of Oklahoma County, Oklahoma, in which

court this case is pending, to the United States District Court for the Western District of

Oklahoma, being the district embracing the place where the case is pending. In support of

this Notice of Removal, Defendant states the following:

                                 Timeliness of Removal

       1.     Plaintiff commenced this action by filing the Petition in the District Court of

Oklahoma County, on March 15, 2018.
            Case 5:18-cv-00363-M Document 1 Filed 04/18/18 Page 2 of 8



       2.     State Farm was served via the Oklahoma Insurance Commissioner on March

29, 2018.

       3.     In accordance with 28 U.S.C. § 1446(a) and LCvR 81.2, a copy of the Docket

Sheet and a clearly legible copy of all documents filed or served in the Oklahoma County

case are attached to this Notice of Removal as Exhibit Nos. “1” through “2”.

       4.     This removal was effected within 30 days of service of the Petition on State

Farm and therefore is timely. 28 U.S.C. § 1446(b); Murphy Bros., Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344 (1999) (notice of removal is timely under 28 U.S.C. § 1446(b)

if filed within 30 days after service of the complaint).

                                   Diversity Jurisdiction

       5.     At the time the Petition was filed, at the time of removal and all intervening

times, the Plaintiff was (and is) a resident and citizen of the State of Oklahoma.

       6.     State Farm is a foreign insurance company incorporated in the State of

Illinois and its principal place of business is in the State of Illinois. State Farm is licensed

to do business in the State of Oklahoma. Therefore, it is deemed to be an Illinois citizen

for the purpose of diversity.

       7.     Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1332 as

there is complete diversity between Plaintiff and State Farm. Removal is proper pursuant

to 28 U.S.C. §§ 1332, 1441 and 1446.




                                               2
            Case 5:18-cv-00363-M Document 1 Filed 04/18/18 Page 3 of 8



                         Allegations and Claims in the Petition

       8.     According to Plaintiff’s Petition, the underlying lawsuit arises out of an

automobile accident involving Plaintiff and an unnamed tortfeasor, which occurred on or

about October 13, 2016. The vehicle was insured with a policy of automobile insurance,

Policy No. 3672-861-36, issued by State Farm, which contained provisions for

uninsured/underinsured motorist coverage. Plaintiff contends the policy was in force at the

time of the accident and further contends State Farm has breached the insurance contract

and caused Plaintiff damages by the refusal to pay Plaintiff’s demands for underinsured

motorist benefits. Plaintiff also contends State Farm’s actions in handling Plaintiff’s claim

were in bad faith. The State Farm policy covering the vehicle driven by Plaintiff at the

time   of    this   accident    has   uninsured/underinsured      motorist    coverage    of

$25,000.00/$50,000.00.

       9.     Upon completing its initial investigation into Plaintiff’s claims, State Farm

advised Plaintiff that her claim was assigned an initial value within the liability limits of

the tortfeasor’s insurance policy and, per the terms and conditions of Plaintiff’s insurance

policy and 36 O.S. § 3636, State Farm advised that Plaintiff was not entitled to a payment

under the UM/UIM coverage. State Farm thereafter received additional medical records

and bills from the insured and reopened its investigation and evaluation into the claim. In




                                             3
              Case 5:18-cv-00363-M Document 1 Filed 04/18/18 Page 4 of 8



the course of its follow-up evaluation, State Farm offered Plaintiff $1,000.00 which

Plaintiff denied and demanded payment of the policy limits.

        10.     Plaintiff alleges that State Farm breached its contract with Plaintiff and that

State Farm breached its duty of good faith and fair dealing. All of this is denied by State

Farm.

                                   Amount in Controversy

        11.     State Farm and its counsel represent to this Court their good faith belief that

the amount in controversy is met for the following reasons:

                a.     Plaintiff alleges State Farm acted in bad faith and
                       that State Farm breached the insurance contract
                       with Plaintiff.

                b.     Plaintiff specifically states in his Petition that she
                       is seeking judgment against State Farm “for an
                       amount in excess of $75,000.00,” which is an
                       amount in excess of the amount required for
                       diversity jurisdiction pursuant to 28 U.S.C.
                       §1332.

                c.     Plaintiff’s Petition asserts that State Farm’s
                       conduct was such that it is claimed to be liable
                       for damages in an amount in excess of
                       $75,000.00.

                d.     Based on Plaintiff’s allegations and prayer for
                       recovery of damages, Plaintiff is seeking
                       judgment against State Farm in an amount
                       exceeding the sum of $75,000.00, together with
                       interest, attorney fees and costs, which is in
                       excess of the amount required for diversity
                       jurisdiction pursuant to 28 U.S.C. § 1332.




                                                 4
             Case 5:18-cv-00363-M Document 1 Filed 04/18/18 Page 5 of 8



      12.      While State Farm disputes Plaintiff’s allegations, State Farm and its counsel

have attempted in good faith to set forth the factual basis for establishing the amount in

controversy in excess of $75,000.00 has been met in accordance with Laughlin v. Kmart

Corp., 50 F.3d 871 (10th Cir. 1995). See also Schrader v. Farmers Insurance Company,

2008 WL 2782710 (W.D. Okla.) (citing to McPhail v. Deere & Co. 529 F.3d 947 (10th Cir.

2008)).

      13.      Pursuant to 28 U.S.C. § 1446(a), State Farm acknowledges that this Notice

of Removal is signed and filed herein pursuant to Rule 11 of the Federal Rules of Civil

Procedure.

      14.      State Farm and its counsel acknowledge that the timing of this removal is

governed by 28 U.S.C. § 1446(b) which provides, in pertinent part:

               The notice of removal of a civil action or proceeding shall be
               filed within 30 days after receipt by the defendant, through
               service or otherwise, of a copy of the initial pleadings setting
               forth the relief upon which such action or proceeding is based,
               or within 30 days after the service of summons upon the
               defendant if such initial pleading has then been filed in court
               and is not required to be served on the defendant, whichever
               period is shorter.

               If the case stated by the initial pleading is not removable, a
               notice of removal may be filed within 30 days after receipt by
               the defendant, through service or otherwise, of a copy of an
               amended pleading, motion, order or other paper from which it
               may be first ascertained that the case is one which is or has
               become removable . . . .

      State Farm contends that removal is proper based upon the face of the Petition and

that said removal has been done so timely. See Martin v. Franklin Corp., 251 F.3d 1284,


                                              5
             Case 5:18-cv-00363-M Document 1 Filed 04/18/18 Page 6 of 8



1290 (10th Cir. 2001) (holding that a Section 1332(a) removal is appropriate only if the

amount-in-controversy requirement is “affirmatively established” on the face of either the

state court petition or the notice of removal); see also 23 O.S. § 9.1(C)(2)(b); Meira v.

Dairyland Ins. Co., 143 F.3d 1337 (10th Cir. 1998); Salaar v. Geico Ins. Co., 2010 WL

2292930 (D.N.M. 2010).

       15.     The Tenth Circuit has construed the language of 28 U.S.C. § 1446(b) to mean

that “the removal period does not begin until the defendant is able to ‘intelligently ascertain

removability so that in his petition for removal he can make a simple and short statement

of the facts.’” Huffman v. Saul Holdings Limited Partnership, 194 F.3d 1072, 1079 (10th

Cir. 1999) (quoting DeBry v. Transamerica Corp., 601 F.2d 480, 489 (10th Cir. 1979). The

notice of removability must be “unequivocal,” and “the circumstances permitting removal

must normally come about as a result of a voluntary act on the part of the Plaintiff.” Id.

(citing DeBry, 601 F.2d at 486-88).

       16.     Upon the face of Plaintiff’s Petition, it clearly states that Plaintiff seeks

money damages in an amount in excess of the amount required for diversity jurisdiction

pursuant to 28 U.S.C. § 1332.

       17.     Pursuant to the teachings of Laughlin, supra, the removing defendant bears

the burden of establishing federal court jurisdiction at the time of removal. Laughlin, 50

F.3d at 873. State Farm and its counsel contend that the facts and reasons set forth above

support removal.




                                              6
             Case 5:18-cv-00363-M Document 1 Filed 04/18/18 Page 7 of 8



       18.     Pursuant to LCvR 81.1, State Farm demands a jury trial and affirmatively

states Plaintiff is put on notice of said demand.

       19.     Contemporaneously with the filing of this Notice of Removal, written notice

has been served upon the Plaintiff through her counsel of record and a copy of this Notice

of Removal has been filed with the District Court of Oklahoma County, Oklahoma.



                                           Respectfully submitted,

                                           WILSON, CAIN & ACQUAVIVA
                                           300 Northwest 13th Street, Suite 100
                                           Oklahoma City, Oklahoma 73103
                                           Telephone: (405) 236-2600
Date: April 18, 2018                       Facsimile: (405) 231-0062

                                           s/Joseph T. Acquaviva, Jr.
                                           Joseph T. Acquaviva, Jr., OBA #11743
                                           JTAcqua@wcalaw.com
                                           Zachary K. Housel, OBA #32802
                                           Zach@wcalaw.com

                                           ATTORNEYS FOR DEFENDANT,
                                           STATE FARM MUTUAL AUTOMOBILE
                                           INSURANCE COMPANY




                                              7
           Case 5:18-cv-00363-M Document 1 Filed 04/18/18 Page 8 of 8



                             CERTIFICATE OF SERVICE

   X        I hereby certify that on the 18th day of April, 2018, I electronically transmitted
the attached document to the Clerk of the Court using the ECF System for filing. Based
on the records currently on file, the Clerk of Court will transmit a Notice of Electronic
Filing to the following ECF registrants:

Matthew Reinstein
mreinstein@lawterlaw.com
Mike Moore
mmoore@lawterlaw.com
Jason Bolitho
jbolitho@lawterlaw.com
LAWTER & ASSOCIATES, PLLC
3313 North Classen Boulevard
Oklahoma City, OK 73118
ATTORNEYS FOR PLAINTIFF

        I hereby certify that on the           day of            , 2018, I served the
attached document by certified mail, return receipt requested, with proper postage
prepaid thereon to the following:



                                            s/Joseph T. Acquaviva, Jr.
                                           Joseph T. Acquaviva, Jr.
                                           Zachary K. Housel




                                              8
